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                                          ORDERED.


         Dated: April 09, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:

MATTHEW FRANCIS BARTOLOMEO                              Case No.: 8:18-bk-09090-MGW
AKA OLGA KALIUZHNA,                                     Chapter: 7
OLGA BARTOLOMEO
                                                   /
          Debtors.


                AGREED ORDER GRANTING VERIFIED MOTION FOR
           RELIEF FROM AUTOMATIC STAY FILED BY QUICKENS LOAN INC.

          THIS CASE was scheduled to come before the Court for hearing on April 18, 2019 at

9:30 a.m. upon the Verified Motion for Relief from Automatic stay filed by Quicken Loans Inc.

(the “Secured Creditor”) (Doc. No. 22) (the “Motion”) and Response to Motion for Relief (Doc.

No. 25) filed by the Chapter 7 Trustee. By submission of this order for entry, the submitting

counsel represents that the opposing party consents to its entry. Accordingly, it is

          ORDERED:

          1.     The Motion is granted.

          2.     The automatic stay arising by reason of 11 U.S.C. § 362 is terminated as to

Secured Creditor’s interest in the real property located at 12611 Lake Vista Dr, Gibsonton,

Florida 33534 (the “Property”), legally described as:
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       3.      The Order Granting Relief from Stay is entered for the sole purpose of allowing

Secure Creditor, its successors and/or assigns, to complete in rem relief to take any and all steps

necessary to exercise any rights it may have in the Property and to gain possession of said

Property. Secured Creditor does not have in personam relief against the Debtors.

       4.      The relief granted here permits Secured Creditor, its successors and/or assigns, to

commence and/or continue through judgment, sale, certificate of title and possession, a

foreclosure against the Property described above.

       5.      Notwithstanding the above, the terms of this order are stayed for a period of one-

hundred eighty (180) days to allow the Chapter 7 Trustee further time to market and attempt to

sell the Property.

       6.      The hearing scheduled for April 18, 2019 is hereby canceled.


Attorney Austin Noel is directed to serve a copy of this order on interested parties who are non-
CM/ECF users and file a proof of service within three (3) days of entry of the order.
